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                               No. 22-2896

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE THIRD CIRCUIT

                          MICHAEL GRASSO,
      individually and trading as General Partner of GF 2014, L.P.,

                                          Appellant,
                                     v.

                              TOBY KATZ,

                                          Appellee.



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On Appeal from the Order of the United States District Court for the Eastern
District of Pennsylvania, Dated September 28, 2022, at No. 2-21-cv-05472,
                 Granting Defendant’s Motion to Dismiss.


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         Michael Grasso t/a general Partner of GF 2014, L.P.,




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Michael Grasso t/a general Partner of GF 2014, L.P.,




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MICHAEL GRASSO, individually and t/a
 General Partner of GF 2014, L.P.                DOCKET NO. 21-cv-05472

                                    Plaintiff,

                     vs.

 TOBY KATZ

                                 Defendant.

                                   AMENDED COMPLAINT

        Plaintiffs Michael Grasso (“Michael”) trading as General Partner of GF 2014, L.P. (“GF

2014”) and Michael, in his individual capacity, bring this Amended Complaint against Defendant

Toby Katz (“Katz”), averring:

                                       INTRODUCTION

        1.     This matter concerns Katz’s ongoing harassment of Michael and GF 2014 and her

interference with both of their business relationships, as well as with Michael’s relationships with

his children and grandchildren, under the guise of trying to execute on a default judgment against

only Michael’s son, Joseph (the “Joe Grasso Judgment”).

        2.     There is no connection between Michael or GF 2014 and the Jose Grasso Judgment.




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        3.      Apparently unable to locate sufficient assets belonging to Joseph, Katz has

defaulted to tormenting Michael and his entire family in an effort to squeeze payment out of

someone other than Joseph.

        4.      The primary focus of Katz’s fury is a limited partnership interest in GF 2014 that

is owned by Joseph and his wife, Donna Grasso, as tenants by the entireties (the “Entireties

Interest”).

        5.      It is well-settled that a judgment creditor cannot execute on entireties property if

the judgment is against only one spouse, as is the case with respect to the Entireties Interest.

        6.      That fact, however, has not stopped Katz from prosecuting a seemingly endless

campaign against Michael, his business partners and his entire family under the guise of seeking

discovery about the Entireties Interest.

        7.      GF 2014 has filed this Action to put to an end Katz’s perversion of the legal process

and to stop her interference with Michael’s and GF 2014’s business and personal relationships.

                                             PARTIES

        8.      GF 2014 is a Pennsylvania limited partnership with an address of 120 East

Lancaster Ave., Ardmore, Pennsylvania 19003.

        9.      Michael is an adult individual and resident of Pennsylvania with a usual place of

business at 120 East Lancaster Ave., Ardmore, Pennsylvania 19003.

        10.     Katz is an adult individual and citizen of Illinois, with an address of 1872 Mission

Hills Lane, Northbrook, Illinois 60062.

                                 JURISDICTION AND VENUE

        11.     This Court has jurisdiction pursuant to 42 Pa.C.S.A. § 931.




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        12.     Venue is proper because the acts and omissions give rise to this Action occurred,

and are continuing to occur, in this County.

                                  FACTUAL BACKGROUND

        13.     Michael created GF 2014 in 2014, with himself as General Partner and with he and

his wife owning a 99% limited partnership interest as tenants by the entireties.

        14.     Two years later, on November 15, 2016, Katz obtained the Joe Grasso Judgment in

a lawsuit captioned Marshall J. Katz v. Joseph Grasso et al., No. 07-CH-24116, in the Circuit

Court of Cook County, Illinois, Chancery Division (the “Illinois Lawsuit”).

        15.     Michael was not a party in the Illinois Lawsuit, and he had no involvement in the

facts and circumstances underlying it.

        16.     GF 2014 was not a party in the Illinois Lawsuit, and it had no involvement in the

facts and circumstances underlying it.

        17.     On February 1, 2017, Katz transferred the Joe Grasso Judgment to Montgomery

County, Docket No. 2017-02140 (the “Execution Proceedings”).

        18.     Neither Michael Grasso nor GF 2014 is a party to the Execution Proceedings.

        19.     The only connection between Michael and the Execution Proceedings is that

Michael is Joseph’s 86-year old father.

        20.     The only connection between GF 2014 and the Execution Proceedings is that

Joseph and his wife, Donna, hold a 99% limited partnership interest in the company as tenants by

the entireties (the “Entireties Interest”).

        21.     Because Joseph and Donna Grasso jointly own the Entireties Interest, that property

is not subject to execution by Katz, as her judgment is solely against Joseph.




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        22.     Nevertheless, Katz has made Michael and GF 2014 the focus of the Execution

Proceedings, and she has been tormenting Michael, his children and even his grandchildren under

the guise of asset discovery.

        23.     Katz has no facts or explanation as to why she is entitled to information about assets

that are beyond the reach of her judgment against only Joseph.

        24.     There can be no legitimate dispute about the nature of the Entireties Interest.

        25.     Michael long ago admitted that he and his wife originally held a 99% limited

partnership interest, as tenants by the entireties, in GF 2014.

        26.     Michael likewise admitted that on January 2, 2017, he and his wife gifted that

interest (the Entireties Interest) to their son and daughter-in-law, Joseph and Donna Grasso, as

tenants by the entireties, pursuant to an Assignment of Partnership Interest (the “Assignment”).

The Assignment is attached as Exhibit “A.”

        27.     Michael had produced the Assignment to Katz.

        28.     Michael also admits that, in connection with the Assignment, gift tax returns were

prepared and filed, with a reported value of the Entireties Interest of $3,867,866.00.

        29.     Michael also admits that, at certain points in the last 5-10 years, he has on occasion

given his Joseph son a job for which he was paid a salary, and he has produced all of that

information to Katz.

        30.     And Michael admits that GF 2014 has been issuing monthly distributions to Joseph

and Donna Grasso, as tenants by the entireties, in the usual amount of $4,000.00.

        31.     Michael has not concealed any of these facts from Katz even though they have

nothing to do with Katz’s execution on the Joe Grasso Judgment against only Joseph.




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        32.     Katz has nevertheless used legal process to perpetuate seemingly endless paper

discovery and depositions involving Michael, GF 2014, Michael’s entire family (other than

Joseph) and a host of Michael’s and GF 2014’s business contacts.

        33.     On November 2, 2020, Katz issued a Subpoena to Attend and Testify to Michael

Grasso in his capacity as General Partner of GF 2014 (the “Subpoena”). The Subpoena is attached

as Exhibit “B.”

        34.     The Subpoena demanded a multitude of documents about GF 2014 and a deposition

of Michael.

        35.     As stated above, GF 2014 undertook the significant burden of locating and

producing a multitude of documents, both initially and in response to Katz’s endless follow-up

requests.

        36.     GF 2014 has now produced all of its tax returns since 2016, all of the documents

related to the gifting of the Entireties Interest, reams of documents concerning its property at 649

Dodds Lane, Gladwyne, PA (the “Dodds Lane Property”), an explosion that occurred there in

2018, the subsequent insurance claim (the “Insurance Claim”) and a slew of other materials that

have nothing to do with the location of Joseph’s assets upon which Katz might execute.

        37.     In addition, Katz forced Michael to sit for three separate deposition sessions totaling

more than nine hours.

        38.     During these depositions, Katz’s attorney questioned Michael on a wide range of

topics, including, for example, every real estate project with which he has been involved (not in

his capacity as General Partner of GF 2014) since the early 1980’s and, in an effort to simply

humiliate him, criminal matters going back almost five decades.




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        39.     It then became clear that harassment was not Katz’s sole objective; rather, she was

also searching for evidence in order to institute another lawsuit, this time against Michael, GF

2014 and Joseph’s wife, Donna Grasso.

        40.     On December 16, 2020, Katz commenced that litigation (Docket No. 2:20-CV-

06320, the “Katz Litigation”). Katz asserts claims of fraudulent transfer, civil conspiracy and

unjust enrichment relying on the theory that the Dodds Lane Property was fraudulently transferred

into GF 2014, which Katz alleges is Joseph’s alter-ego.

        41.     It is clear that Katz is using the Execution Proceedings for at least four improper

purposes: (1) to harass Michael and his entire family; (2) to interfere with Michael’s and GF 2014’s

business relationships; (3) to damage Michael’s relationships with his children and grandchildren;

and (4) to prematurely conduct discovery for the Katz Litigation in violation of the Federal Rules

of Civil Procedure.

        42.     With respect to Katz’s harassment of Michael’s entire family, Katz has subpoenaed

Michael’s daughter-in-law, Donna Grasso, his granddaughter and his grandson despite having no

legitimate reason to do so.

        43.     Donna Grasso has been deposed by Katz’s lawyer; he made her cry repeatedly

during it.

        44.     It appears that Katz is simply trying to pressure Michael to pay Joseph’s judgment

by tormenting Michael’s whole family.

        45.     Katz has likewise abused the discovery process in the Execution Proceedings for

the purpose of damaging Michael’s and GF’s current and prospective business relationships.

        46.     On September 28, 2021, Katz issued a subpoena to BHH Affiliates, LLC t/a Fox &

Roach, GF 2014’s real estate agent for the Dodds Lane Property that is currently under agreement



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to be sold, as Katz knows (the “Fox/Roach Subpoena”). A true and correct copy of the Fox/Roach

Subpoena is attached hereto as Exhibit “C.”

        47.     Katz concealed the Fox/Roach Subpoena from Michael for months.

        48.     On October 29, 2021, suspecting that Katz had issued the Fox/Roach Subpoena,

Michael, through counsel, requested a copy of it from Fox & Roach, but Fox & Roach refused to

provide it without a separate subpoena requesting it.

        49.     Fox & Roach is a firm with which GF 2014 currently has a listing agreement with

respect to the Dodds Lane Property, and it is a firm with which Michael and GF 2014 have a

reasonable expectation of doing future business. Indeed, Michael has done business with two

realtors for over 20 years who are currently at Fox & Roach, and he had, prior to the events giving

rise to this Action, every expectation of continuing to do so.

        50.     As a result of Katz’s harassment of Fox & Roach, the firm now refuses to engage

in basic communication directly with Michael and GF 2014, and the prospects of future business

dealings has been diminished.

        51.     GF 2014’s realtor has been so intimidated by Katz that, out of fear of being dragged

more deeply into Katz’s sham asset discovery, it determined that the consequences of withholding

material information from its own client impacting a still pending $2 million real estate transaction

were less severe than doing anything that Katz could try to pervert as part of some imagined,

nonsensical conspiracy (the general theme of her pleadings in the Katz Litigation).

        52.     It is believed and therefore averred that Katz is deliberately attempting to interfere

with the Dodds Lane Transaction so that she can use the threat of the transaction falling apart to

extract settlement payments from anyone other than its actual judgment debtor, Joseph.




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          53.     GF 2014 is essentially a real estate holding company. Harassing real estate agents

and other industry players poisons the well for GF 2014 to conduct its regular operations of buying

and selling real estate. Word spreads quickly among the real estate agent community, which is by

nature are tightly networked. Even one withdrawn bid or missed deal can be very costly.

          54.     There is no information that can be obtained from Fox & Roach that could in any

way impact execution on the Joe Grasso Judgment.

          55.     Katz has similarly interfered with Michael’s and GF 2014’s relationship with their

insurance adjusters.

          56.     On November 4, 2021, Katz served a subpoena on Clarke & Cohen, GF 2014’s

insurance adjuster engaged for a claim related to an explosion at the Dodds Lane Property (the

“Clarke/Cohen Subpoena”). A true and correct copy of the Clarke & Cohen Subpoena is attached

hereto as Exhibit “D.”

          57.     Katz deliberately concealed the Clarke/Cohen Subpoena from Michael, so he did

not even know that Katz had issued it until Katz filed a Motion to Compel a deposition of a

designee of Clarke and Cohen. Even then, Katz did not give Michael notice of the motion; rather,

his attorneys saw it in the course of monitoring the docket in the Execution Proceedings.

          58.     There is no legitimate reason for Katz to seek documents or depositions from Clarke

and Cohen, as the intricacies of the Insurance Claim have nothing to do with finding Joseph’s

assets.

          59.     The reason for Katz involving Clarke and Cohen is to damage that firm’s

relationship with Michael and GF 2014.

          60.     In addition to directly damaging Michael’s and GF 2014’s relationships with Fox

& Roach and Clarke and Cohen, Katz intends for those firms to damage Michael’s and/or GF



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2014’s reputation more generally in the business community by sharing with others the severe

consequences that they have endured as apparent punishment for doing business with them.

        61.     It is believed and therefore averred that Katz is signaling to all who would deign to

do business with GF 2014 that the consequence of even the most mundane business relationships

is endless subpoena practice, fishing expeditions through decades of paper and electronic

documents and pointless depositions designed only to waste people’s time and money and,

wherever possible, to humiliate them.

        62.     In addition to harming Michael’s business relationships, Katz has set out to damage

his relationships with his family members, particularly his grandchildren, by harassing them under

the guise of discovery and by trying to convince them in the course of that effort that Michael has

somehow been involved in wrongdoing.

        63.     Finally, Katz’s purported ‘asset discovery’ is a transparent attempt to end-run

around the Federal Rules of Civil Procedure by prematurely conducting discovery for the Katz

Litigation using the Execution Proceedings (and then by further harassing Michael by forcing him

to undergo another round of identical torment once discovery is permitted in the Katz Litigation).

        64.     There has not yet been any Rule 26(f) or Rule 16 conference in the Katz Litigation,

so discovery is not yet permitted in that case.

        65.     None of Katz’s ‘discovery’ in the Execution Proceedings has anything to do with

locating assets to monetize the judgment against Joseph.

        66.     It is therefore clear that Katz is actually engaged in a totally inappropriate and

impermissible effort to conduct discovery for the Katz Litigation under the guise of discovery in

aid of execution.




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        67.     In no way, shape or form do any of these tactics bear any relationship to legitimate

discovery in aid of execution.

        68.     While Katz’s misconduct has not been tailored to locate assets of Joseph upon

which she might execute, it has been carefully designed to inflict pain, expense, burden, harm and

humiliation upon anyone who calls Joseph family or that has done business with Michael or GF

2014.

                                 COUNT I – ABUSE OF PROCESS

        69.     The foregoing paragraphs are incorporated by reference.

        70.     The subpoenas issued to Michael’s and GF 2014’s business contacts and to

Michael’s family members constitute legal process.

        71.     Katz utilized legal process in the Execution Proceedings for the improper purposes

described above.

        72.     As a result, GF 2014 and Michael have incurred damages including but not limited

to emotional distress, strain on business and/or personal relationships and inordinate expenses

associated with responding to Katz’s abusive process.

        WHEREFORE, GF 2014 and Michael respectfully request that the Court enter judgment

against Katz for monetary damages in excess of $75,000.00, together with a preliminary and/or

permanent injunction enjoining Katz from interfering with any of plaintiffs’ business relationships

and/or Michael’s personal, familial relationships.



 COUNT II – TORTIOUS INTERFERENCE WITH CONTRACT AND PROSPECTIVE
                       BUSINESS RELATIONSHIPS

        73.     The foregoing paragraphs are incorporated by reference.

        74.     Katz has at all relevant times known of the Dodds Lane Transaction.


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        75.     Katz has intentionally interfered with the Dodds Lane Transaction by abusing the

discovery process in the Execution Proceedings and harassing the parties involved in an effort to

either stop the transaction from closing, to extract a settlement related to the Joe Grasso Judgment

from anyone other than Joseph and/or to make it painful and difficult for the transaction to close.

        76.     Katz has also interfered with Michael’s and GF 2014’s relationships with firms with

which it does business and with which it reasonably expected to continue to do business, such as,

for example, its realtors and insurance adjusters.

        77.     As result, Katz has caused actual legal damage in the form of emotional distress

(Michael) and actual harm to reputation (Michael and GF 2014) that Katz should have reasonably

expected to flow from her misconduct.

        WHEREFORE, GF 2014 and Michael respectfully request that the Court enter judgment

against Katz for monetary damages in excess of $75,000.00, together with a preliminary and/or

permanent injunction enjoining Katz from interfering with any of plaintiffs’ business relationships

and/or Michael’s personal, familial relationships.

                         COUNT III – DECLARATORY JUDGMENT

        78.     The foregoing paragraphs are incorporated by reference.

        79.     There is a ripe case or controversy between the parties as to whether the Entireties

Interest is subject to execution with respect to a judgment against only Joseph.

        80.     This case or controversy has immediate implications, as Katz continues to harass

plaintiffs and Michael’s entire family under the guise of trying to execute on the Entireties Interest.

        81.     The Entireties Interest was assigned by Michael and Jean Grasso to their son and

daughter-in-law, Joseph and Donna Grasso, as tenants by the entireties.




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        82.     The Entireties Interest is therefore not subject to execution with respect to a

judgment against only Joseph.

        83.     If the Entireties Interest is not subject to execution, then there is no legitimate

reason to continue to harass Michael, GF 2014, any person or company that does business with

either and/or every member of Michael’s family.

        WHEREFORE, GF 2014 respectfully requests judgment declaring that the Entireties

Interest in not subject to execution with respect to Katz’s judgment against only Joseph, together

with a preliminary and/or permanent injunction (1) enjoining Katz from interfering with any of

GF 2014’s or Michael’s business relationships and (2) prohibiting Katz from harassing members

of Michael’s family.



                                                      Respectfully submitted,

                                                      /s/ Jordan Rand
                                                      Jordan M. Rand (I.D. No. 208671)
                                                      KLEHR HARRISON HARVEY
                                                      BRANZBURG LLP
                                                      1835 Market Street, Suite 1400
                                                      Philadelphia, PA 19103
                                                      Attorneys for Appellant
Date: January 11, 2022




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                                CERTIFICATE OF SERVICE

        I, Jordan M. Rand, hereby certify that on the January 11, 2022, I caused a true and correct

copy of the foregoing Amended Complaint related to be served by email and the Court’s ECF

notification system upon the following:

                                         David Dormont
                                    Montgomery McCracken
                                  1735 Market Street, 21st Floor
                                     Philadelphia, PA 19103




                                                     By:     /s/ Jordan Rand
                                                             Jordan M. Rand, Esquire




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MICHAEL GRASSO, individually and t/a
 General Partner of GF 2014, L.P.,
       Plaintiff,
                                                 Civil Action No. 21-cv-05472
        v.

 TOBY KATZ,
      Defendant.


                        DEFENDANT TOBY KATZS
          MOTION TO DISMISS PLAINTIFFS AMENDED COMPLAINT OR,
              IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

       Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(6) and 56, Defendant Toby

Katz moves to dismiss Plaintiff Michael Grasso, individually and trading as General Partner of GF

2014, L.P.s Amended Complaint, or in the alternative, for summary judgment in her favor and

against Plaintiff for the reasons set forth in the accompanying Memorandum of Law.

       Accordingly, Defendant respectfully requests that her Motion to Dismiss be granted and

Plaintiffs Amended Complaint be dismissed, with prejudice, or in the alternative, summary

judgment should be entered in favor or Defendant and against Plaintiff.

                                            Respectfully Submitted,

Dated: January 25, 2022                     MONTGOMERY, MCCRACKEN,
                                            WALKER & RHOADS, LLP

                                            /s/ David Dormont
                                            David Dormont
                                            Kelly Huff
                                            1735 Market Street, 21st Floor
                                            Philadelphia, PA 19103
                                            Phone: 215-772-1500
                                            Email: ddormont@mmwr.com; khuff@mmwr.com
                                            Attorneys for Defendant


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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MICHAEL GRASSO, individually and t/a
 General Partner of GF 2014, L.P.,
       Plaintiff,
                                                 Civil Action No. 21-cv-05472
        v.

 TOBY KATZ,
      Defendant.


                                   PROPOSED ORDER #1



       AND NOW, this _______ day of ____________________, 2022, upon consideration of

Defendant Toby Katzs Motion to Dismiss Plaintiffs Amended Complaint and any response

thereto, it is hereby ORDERED that Defendants Motion is GRANTED and the Amended

Complaint of Plaintiff Michael Grasso, individually and trading as the General Partner of GF

2014, L.P. is DISMISSED with prejudice.

                                            BY THE COURT:




                                            CYNTHIA M. RUFE, J.




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MICHAEL GRASSO, individually and t/a
 General Partner of GF 2014, L.P.,
       Plaintiff,
                                                 Civil Action No. 21-cv-05472
        v.

 TOBY KATZ,
      Defendant.


                                   PROPOSED ORDER #2



       AND NOW, this _______ day of ____________________, 2022, upon consideration of

Defendant Toby Katzs Motion for Summary Judgment and any response thereto, it is hereby

ORDERED that Defendants Motion is GRANTED. Judgment is entered in favor of Defendant

Toby Katz and against Plaintiff Michael Grasso, individually and trading as General Partner of

GF 2014, L.P.

                                            BY THE COURT:




                                            CYNTHIA M. RUFE, J.




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                                             COMMONWEALTH OF PENNSYLVANIA
                                                COUNTY OF PHILADELPHIA

In the matter of:                                                                Court of Common Pleas
                                                                                                                    Term, Yr.

                                                                                 No.




                                                             Subpoena
To:
          (Name of Witness)                                             (Nombre del Testigo)

             1.      YOU ARE ORDERED BY THE COURT TO COME TO (El tribunal le ordena que venga a)
                                                                       , AT PHILADELPHIA, PENNSYLVANIA ON (En Filadelfia
Pensilvania el)                                                                         , AT (a las)              O’CLOCK             .M.,     TO
TESTIFY ON BEHALF OF (para atestiguar a favor de)                                                                                        IN THE
ABOVE CASE, AND TO REMAIN UNTIL EXCUSED (en el caso arriba mencionado y permanecer hasta que le autoricen irse).
             2.      AND BRING WITH YOU THE FOLLOWING (Y traer con usted lo siguiente):




                            Notice                                                                        Aviso
If you fail to attend or to produce the documents or things required     Si usted falla en comparecer o producir los documentos o cosas requeridas
by the subpoena, you may be subject to the sanctions authorized by       por esta cita, usted estara sujeto a las sanciones autorizadas por la regla
Rule 234.5 of the Pennsylvania Rules of Civil Procedure, including       234.5 de las reglas de procedimiento civil de Pensilvania incluyendo pero no
but not limited to costs, attorney fees and imprisonment.                limitado a los costos, remuneracion de abogados y encarcelamiento.

                                         INQUIRIES CONCERNING THIS SUBPOENA SHOULD BE ADDRESSED TO (Las
                                         preguntas que tenga acerca de esta Citacion deben ser dirigidas a):
                                         ISSUED BY:

                                          (Attorney)                             (Abodago/Abogada)

                                         Address (Direccion):




                                         Telephone No. (No. de Telefono):
                                         Attorney ID # (Abogado ID#):

                                         BY THE COURT (Por El Tribunal):
                                         Eric Feder
                                         Deputy Court Administrator (Administrador del Tribunal Adjunto)
                                         Director, Office of Judicial Records (Director de la Oficina de Registros Judiciales)



                                                              PRO
                                                                                 (Clerk)                                    (Escribano)



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                                      COMMONWEALTH OF PENNSYLVANIA
                                         COUNTY OF PHILADELPHIA

In the matter of:                                             Court of Common Pleas
                                                                                      Term, Yr.

                                                              No.




                                        Return of Service

        On the                                 day of                                         , Yr.        ,
I,                                                      , served with the foregoing subpoena by (described
method of service):




        I verify that the statements in this return of service are true and correct. I understand that false
statements herein are made subject to the penalties of 18 Pa. C.S.A. § 4904 relating to unsworn
falsification to authorities.




                      Date                                                    Signature




                    Name of Witness                                   Name of person Served




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 MITTS LAW, LLC
 Maurice R. Mitts, Esquire
 Attorney I.D. No. 50297
 1822 Spruce Street                                     Attorney for Defendant
 Philadelphia, PA 19103                                 Joseph Grasso
 (215) 866-0112 (telephone)
 (215) 866-0113 (facsimile)
____________________________________
                                      :
 MARSHALL KATZ,                       : COURT OF COMMON PLEAS OF
                                      : MONTGOMERY COUNTY
         Plaintiff,                   :
                                      : Case No. 2017-02140
              v.                      :
                                      :
 JOSEPH GRASSO,                       :
                                      :
         Defendant.                   :
 ____________________________________ :

   AMENDED OBJECTIONS AND ANSWERS OF DEFENDANT JOSEPH GRASSO
        TO
     INTERROGATORIES ADDRESSED TO DEFENDANT JOSEPH GRASSO

         Pursuant to the Pennsylvania Rules of Civil Procedure, Defendant Joseph Grasso         Mr.

Grasso                      his undersigned counsel, Mitts Law, LLC, hereby provides the following

amended objections and answers           Answers           First Postjudgment Interrogatories (each,

an Interrogatory         Plaintiff Marshall Katz   Plaintiff .

                                     GENERAL OBJECTIONS

         1.       Each of Mr. Grasso Answers set forth below, in addition to any specifically stated

objections, is subject to and incorporates the following General Objections. The assertion of the

same, similar or additional objections, or a partial response to any individual Interrogatory does

not waive any of Mr. Grasso

         2.       The following Answers reflect the current state of Mr. Grasso

understanding respecting matters about which reasonable inquiry has been made. Mr. Grasso




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expressly reserves his right to supplement or modify these Answers with such pertinent

information as he may hereafter discover and will do so to the extent required by the Pennsylvania

Rules of Civil Procedure, the Local Rules of this Court and any other applicable rule or law.

       3.      Mr. Grasso objects to any Interrogatory to the extent that it seeks information

concerning communications between Mr. Grasso and his counsel that are protected by the

attorney-client privilege.

       4.      Mr. Grasso objects to any Interrogatory to the extent that it seeks information

prepared in anticipation of, or as a result of, litigation or which is otherwise protected by the work-

product doctrine, or any other available privilege, protection or immunity.

       5.      The inadvertent disclosure by Mr. Grasso of communications or information

protected from discovery by the attorney-client privilege, work-product doctrine, or any other

applicable privilege, protection or immunity, shall not constitute a waiver of such privileges,

protections or immunities with respect to those communications or information. In the event that

inadvertent disclosure occurs, Plaintiff shall make no use of the contents thereof, nor premise any

further discovery on information learned therefrom.

       6.      Mr. Grasso objects to the Interrogatories, including the Definitions and Instructions,

to the extent that that they seek to impose upon Mr. Grasso any obligation beyond those imposed

by the Pennsylvania Rules of Civil Procedure, the Local Rules of this Court or any other applicable

rule or law.

       7.      Mr. Grasso objects to the Interrogatories to the extent that the Interrogatories are

overbroad, unduly burdensome, duplicative, vague, ambiguous, confusing, require speculation to

determine their meaning or use imprecise specifications of the information sought.

       8.      Mr. Grasso objects to the Interrogatories to the extent they are not reasonably



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                                                                                                          Appx0200
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limited in time and, for each and every such Interrogatory,                Answer and, to the extent,

if any, Mr. Grasso makes a responsive production, such production, shall date back to the entry of

the foreign judgment in Cook County, Illinois on November 15, 2016, beyond which Plaintiff has

no basis for requesting, or right to obtain, documents, things or information.

       9.       Mr. Grasso objects to the extent certain Interrogatory seek documents, things or

information related to transactions of unreasonably low values, such as $100 or $250, over periods

of many years. For each and every such Interrogatory,                        Answer shall relate to

transactions of $2,500 and above.

       10.      Mr. Grasso objects to the Interrogatories to the extent that the Interrogatories seek

documents, things or information related to assets held as tenants by the entireties with Mr.

                                      execution as a matter of law.

       11.      Mr. Grasso objects to the Interrogatories to the extent that the Interrogatories seek

documents, things or information related to third

wife and father, brother, and are not reasonably calculated to lead to the discovery of information

concerning

       12.      Mr. Grasso objects to the Interrogatories to the extent they relate to communications

and information protected by the attorney-client privilege, the work product doctrine, the joint

defense privilege or any other applicable privilege, protection or immunity.

       13.      Mr. Grasso objects to the Interrogatories to the extent they relate to communications

and information protected by spousal privilege, confidential spousal communications or any other

applicable privilege, protection or immunity.

       14.      Production of an unprivileged communication that was transmitted between

individuals otherwise entitled to privileged communications does not constitute a waiver of the



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privilege.

       15.      Mr. Grasso objects to the Interrogatories to the extent that the Interrogatories seek



is to Mr. Grasso.

       16.      None of the objections or answers contained herein is an admission concerning the

existence of any information, the relevance or admissibility of any information contained herein,

or the truth or accuracy of any statement or characterization contained in the Interrogatories. Mr.

Grasso Answers are made without waiving but, on the contrary, expressly reserving: (a) the right

to object, on the grounds of competency, privilege, relevancy, materiality or any other proper

grounds, to the use of the information contained in the Answers, in whole or in part, in any

subsequent proceeding in this action or any other action; (b) the right to object on any and all

grounds, at any time, to other interrogatories or other discovery procedures involving or relating

to the subject matter of these Interrogatories; and (c) the right at any time to revise, correct, add or

clarify any of the answers or objections provided herein.

       17.

right to introduce in the future any and all evidence of any kind in this matter. Further, Mr. Grasso

reserves the right to introduce, in the future, evidence from any witness in this matter even if that

evidence was not provided in response to these Interrogatories due to mistake, oversight,

inadvertence, misinterpretation or otherwise. Moreover, a response to any of these Interrogatories



characterizations or definitions contained therein, or that the information sought is likely to lead

to the discovery of admissible evidence. Except for facts explicitly admitted herein, no admission

of any nature whatsoever is to be implied by or inferred from any statement anywhere in these



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objections and answers.

       18.                               raise a specific objection to any Interrogatory does not

constitute a waiver of that objection or privilege claim.

       19.      Mr. Grasso expressly reserves the right to enter supplemental objections and

responses.

       20.      Unless otherwise indicated, Mr. Grasso will not provide any documents, things or

information in response to any Interrogatory to the extent that such information is subject to his

General Objections or his specific objections set forth below.

       21.      Mr. Grasso incorporates each and every General Objection into each and every of

his specific Answers below as if each and every General Objection were set forth at length therein.

                          ANSWERS AND SPECIFIC OBJECTIONS
                               TO INTERROGATORIES

       1.       State Your Social Security number.

ANSWER: XXX-XX-XXXX.



       2.       State Your date and place of birth.

ANSWER: Mr. Grasso objects to this Interrogatory on the basis that it is not reasonably calculated




       3.       State Your Pennsylvania and any other

number(s).

ANSWER: Mr. Grasso will produce documents responsive to this Interrogatory.



       4.       Identify each of Your telephone numbers (including home, work and mobile).

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ANSWER: 215-680-6800 (Mobile) 215-701-1000 (Office).



       5.      Identify each email address that You have access to for sending or receiving emails.

ANSWER: jgrasso@walnutstcapital.com; jgrasso@ironhillcompany.com.



       6.      Identify the username, phone number and/or email address for any social media

account, including but not limited to, Facebook, YouTube, Twitter, Instagram, Reddit, VK,

Tumblr, Pinterest, Google+, LinkedIn, Snapchat, and TikTok, You have used in the past five years.

ANSWER: None.



       7.      Identify each of Your children setting forth their birthdates, their current addresses,

telephone numbers and email addresses.

ANSWER: Mr. Grasso objects to this Interrogatory on the basis that it is not reasonably calculated

                                                                                    Interrogatory on

the basis that it seeks to impose unfair and unreasonable annoyance, embarrassment, oppression,

burden or expense and is overly broad, unduly burdensome and is sought in bad faith.



       8.      Do You now hold or have you ever held any professional licenses? If yes, identify

each such license, including the profession, the state that issued the license, the date the license

was first issued, and whether the license is current.

ANSWER: Mr. Grasso held a real estate salesperson license which expired many years ago.



       9.      Identify each accountant or other financial professional that you have used to



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prepare your personal income tax returns or otherwise employed in the past six years.

ANSWER: None.



         10.      Identify each attorney that you have engaged and/or paid for legal services in the

past six years.

ANSWER: Mr. Grasso objects to this Interrogatory on the basis that it is not reasonably calculated



the basis that it seeks to impose unfair and unreasonable annoyance, embarrassment, oppression,

burden or expense and is overly broad, unduly burdensome and is sought in bad faith. Subject to,

and without waiver of, the foregoing general and specific objections, Mr. Grasso has engaged Mitts

Law, LLC, John Gagliardi, Giel Stein, William Zieske, Paul Winterhalter and Daniel Hogan.



         11.      State the address at which You currently live and identify how long you have lived

there.

ANSWER: 373 Righters Mill Rd., Gladwyne, PA 19035 for approximately three years.



         12.      Identify all other addresses where You have lived in the past five years, the dates

You lived at each address, and whether You owned those properties. If You did not own the

property, identify (a) the name of the property owner, and (b) the amount of rent you paid, if any,

per month for each property.

ANSWER: 373 Righters Mill Rd., Gladwyne, PA 19035, approximately three years, prior to that,

300 Conshohocken State Rd., Gladwyne, PA 19035 for approximately one year, prior to that, 649

Dodds Ln., Gladwyne, PA 19035 for over ten years.



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        13.        Do You have any ownership interest or other interest in any real estate anywhere

in the World? If yes, describe the same.

ANSWER: Yes, 631 E. Elm St., Conshohocken, PA 19428 and 735 E. Hector St., Conshohocken,

PA 19428.By way of further response, Mr. Grasso previously executed documents intended to

transfer ownership of the properties to Mr. Grasso and his wife as tenants by the entireties.



        14.        In the six years preceding the date of these interrogatories, have You transferred

any interest in real property either by sale, gift, exchange, or otherwise? If yes, please identify,

              a.   The real property transferred;

              b. the method or manner of transfer;

              c. the name of the person, firm, or other entity to whom the real property was

                   transferred;

              d. The consideration or amount You received for the transfer;

              e. The time and place of the transfer; and,

              f. A verbatim detail the content of each document pertaining to said transaction, e.g.,

                   deed, mortgage, lease, title report, agreement of sale, judgment, writ of execution,

                   release, or statement. (You may attach copies in lieu of response.)

ANSWER: Mr. Grasso and his wife, as tenants by the entireties, owned 649 Dodds Ln., Gladwyne,

PA

2016.



        15.        Is any of Your real or personal property rented to, leased to, or otherwise in



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possession of a third person? If yes, please identify:

             a. The property;

             b. The person who has possession of the property;

             c. The circumstances and reason why the property is in the possession of the third

                person;

             d. The consideration or payment You receive(d);

             e. The name and address of the person or entity who receives rents or other

                consideration on behalf of You relative to the foregoing; and,

             f. A verbatim description of all receipts, statements, correspondence, and e-mails You

                sent and received relative to all of the foregoing. (You may attach copies in lieu of

                response.)

ANSWER: Real property at 631 E. Elm St., Conshohocken, PA 19428 is in the possession of

Miguel A. Sigala and Gloria Solorzano-Eustacio and their children. There is no written or formal

lease and rent is not paid. Ms. Solorzano-Eustacio occasionally performs cleaning services for the

Grassos. Real property at 735 E. Hector St., Conshohocken, PA 19428 was previously in the

possession of Gregory Horshaw, but is presently vacant and has been vacant for an extended period

of time and is unlivable. Both properties are collateral to secured debt obligations of Mr. Grasso.



       16.      State whether in the past six years You have been involved in any agreements

involving real estate, regardless of whether such an agreement ever closed. If so, identify,

             a. Every party to such an agreement;

             b. The real property that was the subject of the agreement;

             c. The date of the agreement;



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             d. The terms of the agreement;

             e. The state and county of recordation, with volume and page numbers, if the

                agreement was recorded; and

             f. All receipts, statements, correspondence, and e-mails You sent and received related

                to or concerning all of the foregoing. (You may attach copies in lieu of response.).

ANSWER: Mr. Grasso and his wife, in their capacity as tenants by the entireties limited partners

in GF 2014 L.P., were involved in a potential transaction with respect to 817 Muirfield Road, Bryn

Mawr, PA 19010, in or around early 2020, which potential transaction was terminated shortly

thereafter. Mr. Grasso previously held a partnership interest in a limited partnership, Spring-Pac

Associate, L.P., which owned real property, a vacant lot, at 1019 Buttonwood Street, Philadelphia,

                                                              ale for unpaid real estate taxes in 2018

and resulted in net proceeds of approximately $98,000, of which Mr. Grasso received a portion.



       17.      State whether or not You are the owner, policy holder, or beneficiary of any

casualty, professional or other liability, health, life, disability, or other insurance. If so, for each

policy identify:

             a. The persons or entities who are so insured;

             b. The serial or policy number or numbers of said contracts;

             c. The face amount of the policy or contract;

             d. The exact name and address of the insurance companies who issued the policy;

             e. The named beneficiary or beneficiaries, and their present address(es);

             f. The name of anyone who jointly owns the insurance policy;

             g. Any cash value of the policy;



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             h. The amount, if any, of any existing loans against such policies;

             i. All claims now pending, or that may be made against the policy and the estimated

                  value of the same

             j. The contents of each said policy;

             k. The receipts, statements, correspondence, and e-mails You sent and received

                  relative to all of the foregoing in the past four years. (You may attach copies in lieu

                  of response.)

ANSWER: Mr. Grasso is covered by a vehicle insurance policy for the vehicles he drives owned

by Iron Hill Co.



       18.        State whether or not You own individually, or jointly, any corporate or government

bonds or other securities. If so, for each security identify,

             a.   The face amount;

             b. The serial numbers;

             c. The maturity date(s);

             d. The present location of the security;

             e. Any broker, brokerage, or other facility that maintains an account for the security;

             f. Any person who jointly owns the security;

             g. All receipts, statements, correspondence, and e-mails you sent and received relative

                  to all of the foregoing in the past four years. (You may attach copies in lieu of

                  response.)

ANSWER: No.




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       19.        Do You have any ownership or other interest, whether individually or jointly, in

any stocks, shares, bonds, or interest in any corporation, unincorporated association, limited or

general partnership, or limited liability company, or other entity. If yes, for each, identify:

             a. The name, registered address, and state of incorporation or registration for the

                  entity;

             b. Your ownership interest (including number of shares and percentage of interest) in

                  the entity;

             c. The date you acquired Your interest.

             d. The names and address of the other owners and their respectful interest in the entity;

             e.

             f.

             g.

             h.

                  books and records;

             i. The name of any joint owner of Your interest; and,

             j. The consideration paid by the joint owner for their ownership interest.

ANSWER: Mr. Grasso and his wife, as tenants by the entireties, are limited partners in GF 2014,

L.P., a Pennsylvania limited partnership with a principal place of business located at 120 East

Lancaster Avenue, Ardmore, PA 19003, in which Michael Grasso is the general partner.              Mr.

Grasso and his wife, as tenants by the entireties, are shareholders with a 70% ownership interest

in Positive Dining Experience, Inc., d/b/a The Palace Bowling & Entertainment, located at 977

East Lancaster Avenue, Downingtown, PA 19335.




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       20.        State whether or not You maintain any checking, savings, or other depository

accounts. If so, for each account identify,

             a.   The depository institution;

             b. The branch or branches thereof that You customarily use in connection with the

                  account;

             c. The identification numbers of the account;

             d. The amount in the account as of December 31, 2020;

             e. The amount in the account at the time of answering these interrogatories;

             f. Any joint owner of the account; and,

             g. All receipts, statements, correspondence, and e-mails you sent and received relative

                  to all of the foregoing in the past four years. (You may attach copies in lieu of

                  response.)

ANSWER: No.



       21.        Identify all persons whom You believe owe You money or other obligations,

describing in detail the nature of the obligation, the terms of any payment, or values due to You

thereunder, and whether or not You have written evidence of the obligation, and if so, the location

thereof. Set forth the contents of each said agreement in verbatim detail, whether oral or written.

(You may attach copies in lieu of response, to the extent that they are written.) Also state if the

matter is in litigation, and if so, give full details. If You hold mortgages or judgments as security

for any of these debts, state where and when such was recorded or entered, and the county, book,

page number, and term where recorded. If You hold this judgment or mortgage jointly with any

other person or persons, identify them. Describe in verbatim detail, receipts, statements,



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correspondence, and e-mails You sent and received relative to all of the foregoing in the past four

years. (You may attach copies in lieu of response.)

ANSWER: None.



       22.      Identify every account (not previously noted before), titled in Your name in which

You have an interest in whole or part, whether or not styled as a payroll account, individual

retirement account, tax account, lottery account, partnership account, joint or tenants by the



ANSWER: None.



       23.      Are You the signatory for any account (not fully identified in Your answer to any

of the proceeding interrogatories), regardless of whether You have an interest in such an account,

whether or not styled as a checking, savings, or other depository accounts, payroll account,

individual retirement account, tax account, lottery account, partnership account, joint or tenants by



If yes, for each such account identify,

             a. The name of the account holder(s);

             b. The depository institution;

             c. The branch or branches thereof that the You customarily use;

             d. The identification numbers of the account;

             e. The amount or amounts in each account at the time of answering these

                interrogatories; and

             f. All receipts, statements, correspondence, and e-mails you sent and received relative



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                to all of the foregoing in the past four years. (You may attach copies in lieu of

                response.)

ANSWER: None.



       24.      Do You own or have interest in any tangible personal property (including, but not

limited to, machinery, equipment, inventory, furniture, fixtures, furnishings, and jewelry)? If yes,

for each piece of tangible personal property identify,

             a. The property, setting forth the full value of each and their present location;

             b. Whether there are any encumbrances or liens on that property and, if so, the name

                and address of the encumbrance or lien holder, the present balance owing on that

                encumbrance, and the transaction that gave rise to the existence of the encumbrance

                and how the same was perfected and where and when the encumbrance or lien was

                recorded;

             c. Any joint owner of the property;

             d. All receipts, statements, correspondence, and e-mails You sent and received

                relative to all of the foregoing. (You may attach copies in lieu of response.)

ANSWER: Mr. Grasso owns used furniture, clothing and a watch.



       25.      Do You own or have any rights or usage privileges relative to any motor vehicles,

boats, or airplanes? If yes, for each such motor vehicle, boat, or airplane, identify:

             a. The motor vehicle, boat or airplane, including color, model, title number, serial

                number, and registration plate or other number;

             b. The person or entities to which each motor vehicle, boat, or airplane is registered;



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               c. The purchase price and purchase date of the motor vehicle, boat or airplane;

               d. The present value of the motor vehicle, boat, or airplane;

               e. The present location and place of regular storage, garaging, parking, or docking of

                  the motor vehicle, boat or airplane;

               f. Whether there are any encumbrances on the motor vehicle, boat, or airplane and, if

                  so, the name and address of the encumbrance holder, the date of the encumbrance,

                  the original amount of that encumbrance, the present balance of the encumbrance,

                  and the transaction that gave rise to the existence of the encumbrance, and also

                  provide a motor vehicle, boat, or airplane description of how the same was

                  perfected;

               g. If You do not own the motor vehicle boat, or airplane, state the extent of Your rights

                  or privileges in and to such vehicles or boats

               h. All receipts, statements, correspondence, and e-mails You sent and received

                  relative to all of the foregoing. (You may attach copies in lieu of response.)

ANSWER: Mr. Grasso objects to this Interrogatory on the basis that, to the extent it requests an

answer

                                ssets. Mr. Grasso further objects to this Interrogatory to the extent it

requests an answer

unanswerable. Subject to and without waiver of, the foregoing general and specific objections,

Mr. Grasso is permitted to use the vehicles of Iron Hill Company.



         26.      State whether or not You maintain any safety deposit box or boxes. If so, then for

each box identify,



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             a. The institution and branch where the box is located;

             b. The identification number or other designation of the box;

             c. The contents of the box, including the amount of cash and the descriptions and

                values of any jewelry among those contents;

             d. Any person with joint access to the box;

             e. All receipts, statements, correspondence, and e-mails You sent and received

                relative to all of the foregoing. (You may attach copies in lieu of response.)

ANSWER: No.



       27.      Describe the nature and substance of every legal claim, chosen action, and other

intangible personal property in which You have an interest to the extent not addressed in response

to the above interrogatories. Describe in verbatim detail, receipts, statements, correspondence, and

e-mails you sent and received relative to all of the foregoing. (You may attach copies in lieu of

response.)

ANSWER: None.



       28.      In the preceding six years, have You transferred any assets (real property, tangible

or intangible personal property) to any person or entity, which transfer was not disclosed in Your

answers to any of preceding interrogatories? If yes, for each asset You transferred assets valued at

more than $250.00 (including cash money), identify:

             a. The specific asset that was transferred;

             b. The type of transaction;

             c. Each transferee or recipient of the asset;



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             d. All receipts, statements, correspondence, and e-mails You sent and received

                relative to all of the foregoing. (You may attach copies in lieu of response.)

ANSWER:

Grasso. Mr. Grasso has paid for certain expenses for the real property located at 649 Dodds Ln.,

Gladwyne, PA 19035, owned by GF 2014, LP.



       29.      If You have any assets, claims, or accounts receivables that are not disclosed in the

preceding interrogatories, please set forth all details concerning the same. Describe in verbatim

detail, receipts, statements, correspondence, and e-mails You sent and received relative to all of

the foregoing. (You may attach copies in lieu of response.)

ANSWER: None.



       30.      State whether You are an officer, manager or employee of any entity? If yes,

identify the entity, its address, its telephone number, its website, the name(s) of its owners and

Your Position or Title.

ANSWER: Mr. Grasso objects to this Interrogatory on the basis that it is not reasonably calculated

to lead to the discovery of Mr. Gr               Mr. Grasso further objects to this Interrogatory on

the basis that it seeks to impose unfair and unreasonable annoyance, embarrassment, oppression,

burden or expense and is overly broad, unduly burdensome and is sought in bad faith. Subject to

and without waiver of, the foregoing general and specific objections, Mr. Grasso is the President

of Iron Hill Company, an entity 100% owned by Melissa Grasso.



       31.      Identify each person You have worked for in the past six years, regardless of



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whether they paid You any compensation.

ANSWER: Mr. Grasso has worked for Iron Hill Company without a salary, receiving

reimbursement for living and travel expenses.



        32.        Identify each person who has provided You with $100 or more in compensation

within the past six years, including (a) the amount of compensation paid, (b) when the

compensation was paid, (c) the address of the person making the payment and (d) the reason for

the compensation.

ANSWER: Mr. Grasso has received reimbursement for living and travel expenses from Iron Hill

Company.



        33.        State whether You have any employment agreements, whether oral or written or

partly oral or partly written. If so, identify

              a.   The parties to any such agreement;

              b. The persons who make and/or signed the agreement;

              c. The terms of the agreement;

              d. The date of the agreement; and,

              e. All receipts, statements, correspondence, and e-mails You sent and received

                   relative to all of the foregoing. (You may attach copies in lieu of response.).

ANSWER: No.



        34.        Identify any other source of income You have received within the past six years,

including the amount of income received, when You received the income, the basis for the income



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and the name and address of person providing the income.

ANSWER: Mr. Grasso and his wife, as tenants by the entireties, receive $4,000 per month from

GF 2014, L.P.



       35.      Identify each credit card that You have used in the past six years, including the

name on the credit card, the credit card number, issuer of the credit card, the billing address for

the credit card, the person legally responsible for paying the credit card, the credit limit on the

credit card and the balance owed on the credit card.

ANSWER: Mr. Grasso has credit cards with Credit One Bank and Open Sky, statements for which

are being produced by Mr. Grasso.



       36.      Do You owe money to anyone? If yes, identify the person You owe money to,

whether Your debt has been reduced to writing, whether the debt is secured, the date the debt arose,

the reason for the debt, the original amount of the debt, the terms, if any, of the debt and the date

and amount of every payment You have made on such a debt.

ANSWER: To the extent the debt is undisputed and not satisfied by the distributions of the



United States Bankruptcy Court of the Eastern District of Pennsylvania, case no. 12-11063-mdc.



       37.      For Have You personally been sued for any reasons in the past six years? If yes,

identify the person who sued You, the name of the court where the lawsuit was filed, the identity

of each parties to the lawsuit, and the case/docket number of the case.

ANSWER: In addition to the present litigation, Mr. Grasso has been sued by Toby Katz in the



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United States District Court for the Eastern District of Pennsylvania, civil action no. 2:20-cv-

06320-CMR.




                                                   MITTS LAW, LLC

                                                     /s/ Maurice R. Mitts
                                                   Maurice R. Mitts, Esquire
                                                   Attorney I.D. No.: 50297
                                                   1822 Spruce Street
                                                   Philadelphia, PA 19103
                                                   (215) 866-0110 (telephone)
                                                   (215) 866-0111 (facsimile)
                                                   Attorney for Defendant
                                                   Joseph Grasso




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                                CERTIFICATE OF SERVICE

       I, Maurice R. Mitts, Esquire, hereby certify that the foregoing Amended Objections and

Answers

Interrogatories was served on the following via electronic mail, in accordance with the applicable

Pennsylvania and Local Rules of Civil Procedure, on the date indicated below:

                                   David Dormont, Esq.
                        Montgomery McCracken Walker & Rhoads LLP
                               1735 Market Street, 21st Floor
                                  Philadelphia, PA 19103
                                  ddormont@mmwr.com
                                   Attorneys for Plaintiff

                                                                   /s/ Maurice R. Mitts
                                                                   Maurice R. Mitts

Dated: April 23, 2021




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Common Pleas - Montgomery Co.              Katz v. Grasso                                      Friday
No. 2017-02140                  Videotape Deposition of Donna Grasso                    July 30, 2021


                                                                                             Page 1

                    IN THE COURT OF COMMON PLEAS
                 OF MONTGOMERY COUNTY, PENNSYLVANIA

   MARSHALL KATZ,

                                Plaintiff,

            vs.                                            Case No. 2017-02140

   JOSEPH GRASSO,

                                Defendant.


                                ------------
                            FRIDAY, JULY 30, 2021
                                ------------

                 Oral sworn videotaped deposition of
   DONNA GRASSO, taken remotely via Zoom, before Nancy
   L. Delaney, Certified Court Reporter, on the above
   date, commencing at 9:05 a.m., there being present:


                            MONTGOMERY McCRACKEN
                            WALKER & RHOADS LLP
                            1735 Market Street, 21st Floor
                            Philadelphia, Pennsylvania 19103
                            BY: DAVID DORMONT, ESQ.
                                 RACHEL L. GOODMAN, ESQ.
                            Attorneys for Plaintiff
                                  - - - - - -

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     Common Pleas - Montgomery Co.              Katz v. Grasso                                  Friday
     No. 2017-02140                  Videotape Deposition of Donna Grasso                July 30, 2021


                                                                                              Page 2

1       APPEARANCES CONTINUED:
2                MITTS LAW, LLC
                 1822 Spruce Street
3                Philadelphia, Pennsylvania 19103
                 BY: MAURICE R. MITTS, ESQ.
4                     MICHAEL J. DUFFY, ESQ.
                 Attorneys for Defendant
5
6                ALSO PRESENT:           ROBERT TATE, Videographer
7
                                           I N D E X
8
        WITNESS                                                                      PAGE
9
        DONNA GRASSO
10
                 Examination by Mr. Dormont                                               6
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12                                   ---------------
13
                                     E X H I B I T S
14
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15
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16                      dated January 2, 2017
17      Katz-48         Copy of check dated November 9, 2018                           149
18      Katz-49         Check register for GF 2014 LP                                  231
19      Katz-52         Photocopies of checks                                          147
20      Katz-68         First amendment to lease agreement                             196
                        dated October 1, 2017
21
        Katz-69         Email to Ken Rafferty from Fels                                199
22                      Supply dated April 5, 2021 with
                        attached email string
23
        Katz-117        Residential lease dated October 8,                             168
24                      2019


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     Common Pleas - Montgomery Co.              Katz v. Grasso                                 Tuesday
     No. 2017-02140                  Videotape Deposition of Donna Grasso              October 12, 2021


                                                                                               Page 240
 1                              IN THE COURT OF COMMON PLEAS
                               OF MONTGOMERY COUNTY, PENNSYLVANIA
 2
        MARSHALL KATZ,
 3                    Plaintiff,
                 vs.
 4      JOSEPH GRASSO,
                      Defendant.
 5
                                     ------------
 6                             TUESDAY, OCTOBER 12, 2021
                                     ------------
 7
                 Videotaped sworn deposition of DONNA
 8      GRASSO, Volume II, taken remotely via Zoom, before
        Carolyn J. McCalla, Certified Court Reporter, on the
 9      above date, commencing at 10:00 a.m. there being
        present:
10
                       MONTGOMERY, McCRACKEN,
11                     WALKER & RHOADS, LLP
                       1735 Market Street
12                     Philadelphia, Pennsylvania 19103
                       BY: DAVID DORMONT, ESQUIRE
13                          KACIE KERGIDES, ESQUIRE
                       Attorneys for Plaintiff
14

15                                         - - - - - -
16

17

18

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24                                    www.tate-tate.com


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                                                                                                      Appx0269
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   4            1822 Spruce Street                                     5          statements from November 10,
   5            Philadelphia, Pennsylvania 19103                       6          2020 through June 30, 2021
   6            BY: MICHAEL J. DUFFY, ESQUIRE                          7    Katz-235 Series of Iron Hill Company    348
   7            Attorneys for Defendant                                           operating account statements
                                                                       8          produced by Citizens Bank
   8
   9    ALSO PRESENT:                                                  9    Katz-245 Series of deposit slips from 286
  10                                                                              WSFS, Bates WSFS 002384 to
                                                                      10          2434
  11            William Chan, Videographer                            11    Katz-246 Set of deposit slips for 296
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  20          statement                                              19

  21   Katz-198 2017 K-1 for Positive Dining 400                     20

              Experience, Inc. the Palace                            21
  22          Bowling and Entertainment
                                                                     22

  23   Katz-199 2019 tax return for Positive 402                     23
              Dining Experience, Inc.                                24
  24



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Common Pleas - Montgomery Co.                       Katz v. Grasso                                               Tuesday
No. 2017-02140                           Videotape Deposition of Donna Grasso                            October 12, 2021

                                                  Page 269                                                     Page 271
   1    A.      Well, they took all the money out of my           1    A.     Not that I know of.
   2    account. So no, they closed the account. So I did         2          (Discussion off the record due to fire
   3    not have one.                                             3    alarm.)
   4    Q.      So, you used your daughter Melissa's              4             (The following took place off the
   5    account for a period of time to put your money into,      5    video record.)
   6    correct?                                                  6             THE VIDEOGRAPHER: We are going off
   7    A.      What little I had.                                7    the video record. The time is 10:37 a.m.
   8    Q.      In fact, you put thousands of dollars in          8             MR. DORMONT: Maybe that's, it
   9    there, correct?                                           9    stopped. That may have been just -- I apologize
  10    A.      I don't know how much I put in there.             10   again. So it's not continuing to sound so I think
  11    Q.      Now, could you take money out of that             11   we're fine. If it's a problem we will have to exit
  12    account?                                                  12   the building or at least go to the staircase.
  13    A.      No. I don't think so. Take money out, no,         13            (The following took place on the video
  14    I don't think I could.                                    14   record.)
  15    Q.      Why would you put, if you need -- you             15            THE VIDEOGRAPHER: Please stand by.
  16    needed money after your husband's bankruptcy,             16   Back on the video record. The time is 10:37 a.m.
  17    correct?                                                  17   Q.     Ms. Grasso, sorry again for that
  18    A.      Well, yeah.                                       18   interruption caused by the building.
  19    Q.      And the only bank account you could use was       19         Who decided that checks made payable to you
  20    your daughter Melissa's, correct?                         20   should be deposited into Melissa's account?
  21    A.      I don't know if that's the only one I could       21   A.     Me. I don't know. I can't remember. You
  22    have used, but that is the one I used.                    22   are talking years and years ago. I don't remember
  23    Q.      Other than your daughter Melissa's                23   who decided. I'm sure I asked her to do it.
  24    accounts, did you use anyone else's accounts to           24   Q.     Did she agree?


                                                  Page 270                                                     Page 272
   1    deposit money into?                                       1    A.       Obviously.
   2    A.     No, no.                                            2    Q.       Now, can we agree that you allowed your
   3    Q.     So, when you put money into the account in         3    husband to take checks payable to him and put them
   4    Melissa's name, were you able to take money out of        4    into your bank account?
   5    that account?                                             5    A.       Yeah, yes.
   6    A.     What do you mean, go to the bank and take          6    Q.       Let me show you what I have marked as
   7    money out?                                                7    Exhibit 267.
   8    Q.     However you did it.                                8               (Exhibit Katz-267, Citizens Bank
   9    A.     I'm sure I had -- I'm sure she gave me             9    account statement, was marked for identification.)
  10    checks.                                                   10   Q.       Can you see Exhibit 267?
  11    Q.     What did you do with those checks?                 11   A.       Yes.
  12    A.     Probably paid my electric bill, my water           12   Q.       Exhibit 267 is a Citizens Bank account
  13    bill.                                                     13   statement for you. Do you recognize these?
  14    Q.     So, you took Melissa's -- I'm sorry, go            14   A.       You are moving it too fast.
  15    ahead. I didn't mean to cut you off.                      15   Q.       Okay, we will go slower. Go up to the top
  16    A.     I paid my utility bills. I had to I mean           16   a little bit.
  17    unless you want me to, I could be homeless.               17   A.       Okay, you are saying that's my bank
  18    Q.     But you took -- is it correct that Melissa         18   account?
  19    gave you checks and you wrote those checks out to         19   Q.       Do you see how your name is right now --
  20    pay various bills?                                        20   A.       Yes.
  21    A.     I'm sure that's what I did. I don't know           21   Q.       Donna Grasso your checking with interest?
  22    specifically.                                             22   A.       Right.
  23    Q.     Did Melissa allow your husband to do the           23   Q.       And you had an account at Citizens Bank.
  24    same thing?                                               24   A.       Awhile ago.


 9 (Pages 269 to 272)
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                                                                                                                            Appx0271
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 25, 2022, I caused a true and correct copy of the

foregoing Defendant Toby Katzs Motion to Dismiss Plaintiffs Amended Complaint or, in the

Alternative, for Summary Judgment to be filed and served to all counsel of record electronically

via the Courts Electronic Filing System (ECF) and is available for viewing and downloading

from the Courts ECF.

       I further certify that on the same date I caused a true and correct copy of the foregoing to

be served on the following counsel by email:


                              Jordan Rand (jrand@klehr.com)
                              KLEHR HARRISON HARVEY
                              BRANZBURG LLP
                              1835 Market Street, Suite 1400
                              Philadelphia, PA 19103
                              Counsel for Plaintiff Michael Grasso, individually and t/a General
                              Partner of GF 21014, L.P.

                                               By:     /s/ David Dormont
                                                       David Dormont




                                                                                                      Appx0272
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                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


              MICHAEL GRASSO, individually and as
              General Partner of GF 2014, LP,            NO. 2:21-cv-05472-CMR

                                  Plaintiff,

                                 vs.

              TOBY KATZ,

                                 Defendant.

                                                PROPOSED ORDER

                    AND NOW, this _____ day of _______________, 2022, upon consideration of the

             Motion to Dismiss or, In the Alternative, For Summary Judgment filed by defendant Toby Katz,

             together with the Memorandum in Opposition filed by plaintiffs Michael Grasso and Michael

             Grasso t/a General Partner of GF 2014, L.P., it is hereby ORDERED that defendant’s Motion is

             DENIED, and all parties are to proceed with discovery.




                                                                      BY THE COURT



                                                                      RUFE, J.




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                                                                                                         Appx0273
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                             EXHIBIT A




PHIL1 6298970v.1
                                                                         Appx0274
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                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


              MICHAEL GRASSO, individually and as
              General Partner of GF 2014, LP,          NO. 2:21-cv-05472-CMR

                                 Plaintiff,

                                vs.

              TOBY KATZ,

                                Defendant.


               DECLARATION OF JORDAN M. RAND PURSUANT TO FED. R. CIV. P. 56(d), IN
                SUPPORT OF PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                 THE MOTION TO DISMISS OR, IN THE ALTERNATIVE, FOR SUMMARY
                         JUDGMENT, FILED BY DEFENDANT TOBY KATZ




                                                                  Respectfully submitted,

                                                                  /s/ Jordan M. Rand
                                                                  William A. Harvey (25344)
                                                                  Jordan M. Rand (208671)
                                                                  Amanda J. Dougherty (310663)
                                                                  KLEHR HARRISON HARVEY
                                                                          BRANZBURG LLP
                                                                  1835 Market Street, 14th Floor
                                                                  Philadelphia, PA 19103
                                                                  Telephone: (215) 569-2700
                                                                  Fax: (215) 568-6603
                                                                  jrand@klehr.com

                                                                  Attorneys for Defendants Michael
                                                                  Grasso and Michael Grasso t/a
                                                                  General Partner of GF 2014, L.P.
             Dated: February 8, 2022




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                                                                                                Appx0275
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                    I, Jordan M. Rand, Esquire, being duly sworn according to law, hereby depose and say as

             follows:

                    1.        I am a partner at the law firm of Klehr Harrison Harvey Branzburg LLP and

             represent plaintiffs GF 2014, L.P. (“GF 2014”), and Michael Grasso, individually and as General

             Partner of GF 2014, L.P. (“Michael,” and together with GF 2014, “Plaintiffs”), in the above-

             captioned action.

                    2.        I submit this Declaration pursuant to Federal Rule of Civil Procedure 56(d) and 28

             USC § 1746, as counsel for Plaintiffs and in support of their opposition to the alternative request

             by defendant Toby Katz (“Katz”) to convert her motion to dismiss (the “Motion”) into a motion

             for summary judgment.

                    3.        The parties have not yet had a Rule 26(d) or Rule 16 conference, and, accordingly,

             discovery has not commenced in this matter.

                    4.        The Motion’s alternative request implicates, inter alia, the following issues of

             material fact:

                         (a) Whether, in issuing her subpoena to BHH Affiliates, LLC t/a Fox & Roach (“Fox
                             & Roach”) on September 28, 2021 (the “Fox & Roach Subpoena”), Katz intended
                             to obtain discovery to support a federal fraudulent transfer action she filed on
                             December 16, 2020 (Docket No. 2:20-CV-06320, the “Katz Litigation”);

                         (b) Whether Katz knew that discovery could not yet commence in the Katz Litigation
                             and issued the Fox & Roach Subpoena outside of that litigation in an improper
                             effort to avoid the Federal Rules of Civil Procedure and/or to avoid notifying
                             Plaintiffs that it had been issued so as to give them an appropriate opportunity to
                             challenge it;

                         (c) Whether Katz issued the Fox & Roach Subpoena to with the intent of harming
                             Michael and/or GF 2014 by, for example:

                                     Causing Fox & Roach to believe that Plaintiffs are/were engaged in
                                     fraudulent conduct, in general and specifically with respect to the property
                                     at 649 Dodds Lane, Gladwyne, PA (the “Dodds Lane Property”);

                                     Delaying or preventing the sale of the Dodds Lane Property; and


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                                     Causing Fox & Roach to cease their longstanding business relationship with
                                     Plaintiffs and thus prevent Plaintiffs’ longstanding source of real estate
                                     deals and assistance in profitable real estate transactions.

                          (d) Whether, in issuing her subpoena to Clarke & Cohen on November 4, 2021 (the
                              “Clarke & Cohen Subpoena”), Katz intended to obtain discovery to support the
                              Katz Litigation;

                          (e) Whether Katz issued the Clarke & Cohen Subpoena in an improper effort to avoid
                              application of the Federal Rules of Civil Procedure and/or to avoid notifying
                              Plaintiffs that it had been issued so as to give them an appropriate opportunity to
                              challenge it;

                          (f) Whether Katz issuance of the Clarke & Cohen Subpoena to harm Michael and/or
                              GF 2014 by, for example:

                                     Causing Clarke & Cohen to believe that Plaintiffs are/were engaged in
                                     fraudulent conduct, in general and specifically with respect to the Dodds
                                     Lane Property; and

                                     Spreading the general belief to anyone and everyone who has or might in
                                     the future do business with Plaintiffs that they may be subjecting themselves
                                     to involvement in litigation involving accusations of fraud.

                          (g) To what extent Plaintiffs’ business dealings have been damaged by the above-
                              described misconduct;

                          (h) Whether and to what extent Michael’s reputation has been harmed in the real estate
                              community, thereby depriving him of financial opportunities in the form of real
                              estate transactions, sales, purchases, referrals and/or other opportunities;

                          (i) To what extent Michael has suffered emotional distress from Katz’s improper
                              actions; and

                          (j) To what extent Michael’s relationships with his family members have been harmed
                              by Katz’s actions.

                     5.      Rule 56(d) provides: “If a nonmovant shows by affidavit or declaration that, for

             specified reasons, it cannot present facts essential to justify its opposition, the court may: (1) defer

             considering the motion or deny it; (2) allow time to obtain affidavits or declarations or to take

             discovery; or (3) issue any other appropriate order.”

                     6.      To properly investigate and develop its causes of action against Katz, Plaintiffs

             require, at least, the following discovery:


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                         (a) A production of documents from Katz that includes documents establishing her
                             motives, including whether she misused process in state court to either avoid
                             application of the Federal Rules that would not have allowed her to commence
                             discovery, to intentionally harm the business of Plaintiffs and/or to utilize abusive
                             litigation tactics and publicly disseminated fraud accusations in the course of the
                             state court litigation with the intent of causing Michael, GF 2014 and/or any of
                             Michael’s family members to pay a debt of Joseph Grasso despite having no
                             obligation to do so;

                         (b) A deposition of Katz to determine her motives, including whether she misused
                             process in state court to either avoid application of the Federal Rules that would not
                             have allowed her to commence discovery, to intentionally harm the business of
                             Plaintiffs and/or to utilize abusive litigation tactics and publicly disseminated fraud
                             accusations in the course of the state court litigation with the intent of causing
                             Michael, GF 2014 and/or any of Michael’s family members to pay a debt of Joseph
                             Grasso despite having no obligation to do so;

                         (c) Document discovery of Fox & Roach, Clarke & Cohen and other persons having
                             knowledge regarding the extent to which Katz’s actions have affected the sale of
                             the Dodds Lane Property, Plaintiffs’ deal flow from buyers, sellers and referral
                             sources in the real estate community and Plaintiffs’ general business reputations;
                             and

                         (d) Depositions of the two realtors at Fox & Roach with whom Michael has had
                             longstanding business relationships to determine the extent those relationships have
                             been damaged and whether Katz’s actions have caused either of them to decide not
                             to refer future business opportunities to Plaintiffs.

                    7.      Determination of a motion for summary judgment typically contemplates that there

             has been adequate time for discovery. See Fed. R. Civ. P. 56(c)(1)(A) (noting that the moving party

             must cite to discovery materials of record such as depositions, documents, interrogatory answers,

             etc., to support a motion for summary judgment). Moreover, the “motive or absence of motive of

             a party to engage in conduct alleged by another party is relevant to determining whether a genuine

             issue of fact exists.” Farkas v. Rich Coast Corp., No. 1:14-CV-272, 2017 WL 10299186, at *5

             (M.D. Pa. May 19, 2017), report and recommendation adopted, No. 1:14-CV-272, 2017 WL

             10311284 (M.D. Pa. Aug. 21, 2017).

                    8.      Plaintiffs respectfully submit that the material facts at issue in this case, i.e., Katz’s

             intent and the extent of resulting damages to Plaintiffs, and Plaintiffs’ proposed discovery to


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             explore those and other material facts, establish good cause to conclude that Plaintiffs should not

             at this time be required to respond to a motion for summary judgment and should instead be

             permitted to develop a record through adequate discovery.

                    9.      The information contained in this Declaration is true and correct to the best of my

             knowledge, information, and belief. I declare under penalty of perjury under the laws of the United

             States of America that the foregoing is true and correct.




             Dated: February 8, 2022                              KLEHR HARRISON HARVEY
                                                                  BRANZBURG LLP


                                                           By:    /s/ Jordan M. Rand
                                                                  Jordan M. Rand, Esquire




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                                  IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


              MICHAEL GRASSO, individually and as
              General Partner of GF 2014, LP,              NO. 2:21-cv-05472-CMR

                                   Plaintiff,

                                  vs.

              TOBY KATZ,

                                 Defendant.

                                                CERTIFICATE OF SERVICE

                    Undersigned counsel hereby certifies that on February 8, 2022, a true and correct copy of

             the foregoing Plaintiffs’ Memorandum in Opposition to the Motion to Dismiss, or, In the

             Alternative, Motion for Summary Judgment Filed By Defendant Toby Katz was served on all

             counsel of record via this Court’s ECF service and electronic mail.


                                                                         Respectfully submitted,

                                                                         /s/ Jordan M. Rand
                                                                         William A. Harvey (25344)
                                                                         Jordan M. Rand (208671)
                                                                         KLEHR HARRISON HARVEY
                                                                         BRANZBURG LLP
                                                                         1835 Market Street, 14th Floor
                                                                         Philadelphia, PA 19103
                                                                         Telephone: (215) 569-2700
                                                                         Fax: (215) 568-6603
                                                                         jrand@klehr.com

                                                                         Attorneys for Defendants Michael
                                                                         Grasso and Michael Grasso t/a
                                                                         General Partner of GF 2014, L.P.
             Dated: February 8, 2021




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